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    13
    14
    15                  IN THE UNITED STATES DISTRICT COURT
    16                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
    17    MONSTER ENERGY COMPANY, )) Case No. 5:17-CV-00548-CBM-RAO
          a Delaware corporation,          ) OPENING BRIEF IN SUPPORT OF
    18
                       Plaintiff,          ) MONSTER ENERGY
    19                                     ) COMPANY’S MOTION IN LIMINE
                  v.                       ) NO. 1 TO PRECLUDE
    20                                     ) INTEGRATED SUPPLY
          INTEGRATED SUPPLY                ) NETWORK, LLC FROM
    21    NETWORK, LLC, a Florida limited )) OFFERING
                                             DON   BARRY
                                                          TESTIMONY FROM
                                                           AS AN EXPERT
          liability company,               )
    22
                       Defendant.          ) HEARING:
                                           )
                                           ) August 21, 2018
    23
    24                                     ) 2:30 p.m.
                                           ) Courtroom 8B
    25                                     )
                                           )
    26                                     ) Hon. Consuelo B. Marshall

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      1         Plaintiff Monster Energy Company (“Monster”) moves to exclude Don
      2   Barry, a former employee of Defendant Integrated Supply Network (“ISN”),
      3   from testifying as an expert witness. Despite Monster’s timely objections, ISN
      4   has not disclosed the subject matter on which Mr. Barry is expected to testify,
      5   nor the facts and opinions to which Mr. Barry is expected to testify.
      6   Accordingly, ISN has completely failed to provide the information required by
      7   Fed. R. Civ. P. 26(a)(2)(C), and this Court should exclude any expert testimony
      8   by Mr. Barry.
      9                            I. FACTUAL BACKGROUND
    10          On February 12, 2018, ISN served its Second Amended Initial
    11    Disclosures, listing its then-employee Don Barry as a fact witness. Declaration
    12    of Marko R. Zoretic (“Zoretic Decl.”), Ex. 1 at 4. Four days later, Monster took
    13    the deposition of Mr. Barry as a fact witness.1        Just one week after the
    14    deposition, on February 23, 2018, ISN served what it described as its
    15    Supplemental Disclosures.      Id., Ex. 2.    Those Supplemental Disclosures
    16    continued to list Mr. Barry as a fact witness. Id. at 4. However, they also listed
    17    him for the first time as an “Occurrence Witness[] Who May Provide Expert
    18    Testimony.” Id. at 17.
    19          February 23, 2018 was also the deadline for the disclosure of expert
    20    witnesses and service of expert reports.       Dkt. No. 50.     However, ISN’s
    21    Supplemental Disclosures were not accompanied by a written report from Mr.
    22    Barry, as required of most experts under Fed. R. Civ. P. 26(a)(2)(B). Nor did
    23    the Supplemental Disclosures include the information required of all other
    24    experts under Fed. R. Civ. P. 26(a)(2)(C), such as “the subject matter on which
    25    the witness is expected to present evidence,” or “a summary of the facts and
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                1
    27           Monster had previously learned of the name of Mr. Barry through other
          discovery.
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      1   opinions on which the witness is expected to testify.”           Id.   Instead, the
      2   disclosure of Mr. Barry reads in its entirety as follows:
      3            Don Barry may be called by ISN at trial to present evidence under
      4            Rules 702, 703, 704, and 705, of the Federal Rules of Evidence. Mr.
      5            Barry is an employee of ISN and may be contacted through
      6            Defendant’s counsel.        Mr. Barry has specialized knowledge
      7            regarding relevant topics such as branding and marketing.
      8   Zoretic Decl., Ex. 2 at 17–18.
      9            ISN also offered its explanation for not providing a written report of Mr.
    10    Barry:
    11             Mr. Barry is not required under Rule 26 to provide a written report
    12             since he was not retained or specially employed to provide expert
    13             testimony in this case and does not have employment duties that
    14             regularly include giving testimony.
    15    Id. at 18. ISN did not explain why it had not provided “the subject matter on
    16    which the witness is expected to present evidence,” or “a summary of the facts
    17    and opinions on which the witness is expected to testify,” as required by Rule
    18    26(a)(2)(C).
    19             Thereafter, Monster sent ISN a letter demanding that it provide the
    20    missing information required by Rule 26(a)(2)(C).           Zoretic Decl., Ex. 3.
    21    Monster explained that it needed the information before the April 13, 2018 close
    22    of expert discovery so that Monster could decide whether to take an expert
    23    deposition of Mr. Barry.       Id.    ISN responded by email on April 3, 2018,
    24    declining to provide the requested information. Id., Ex. 4. Instead, ISN stated
    25    that Mr. Barry’s expert testimony “would be consistent with his deposition
    26    testimony” in his fact deposition. Id. ISN also offered to identify the “portions
    27    of his deposition transcript where his expertise was described and his opinion
    28    topics were mentioned.”        Id.    Monster then responded by explaining that
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      1   citations to a deposition transcript are no substitute for the disclosures required
      2   under Rule 26(a)(2)(C). Id., Ex. 5. Monster also explained that it would be
      3   moving to exclude all expert testimony from Mr. Barry at trial. Id. Monster
      4   now brings that motion.
      5            II. MR. BARRY SHOULD BE BARRED FROM GIVING
      6                             ANY EXPERT TESTIMONY
      7   A.    ISN Has Violated Rule 26(a)(2)(C)
      8         Rule 26(a) identifies two types of expert witnesses and provides separate
      9   disclosure requirements for each type. First, “if the witness is one retained or
    10    specially employed to provide expert testimony in the case or one whose duties
    11    as the party’s employee regularly involve the giving of expert testimony,” then
    12    the witness must provide “a written report.”       Fed. R. Civ. P. 26(a)(2)(B).
    13    Second, for all other expert witnesses, the proffering party must disclose:
    14             (i) the subject matter on which the witness is expected to present
    15          evidence under Federal Rule of Evidence 702, 703, or 705; and
    16             (ii) a summary of the facts and opinions to which the witness is
    17          expected to testify.
    18    Fed. R. Civ. P. 26(a)(2)(C). ISN contends that Mr. Barry is not required to
    19    provide a report under Rule 26(a)(2)(B). For purposes of this motion, Monster
    20    will accept this as true. Thus, the requirements of Rule 26(a)(2)(C) govern.
    21          ISN’s disclosure of Mr. Barry does not even come close to meeting these
    22    requirements. In fact, it provides none of the information required by Rule
    23    26(a)(2)(C). ISN’s disclosure includes only one substantive sentence: “Mr.
    24    Barry has specialized knowledge regarding relevant topics such as branding and
    25    marketing.” Zoretic Decl., Ex. 2 at 18. At best, this discloses some information
    26    about the general areas in which Mr. Barry’s might be competent to render
    27    expert opinions. But it provides no meaningful information about the subject
    28    matter on which Mr. Barry actually will testify. Moreover, it most certainly
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      1   does not provide “a summary of the facts and opinions to which the witness is
      2   expected to testify,” as required by Rule 26(a)(2)(C).
      3         The case law confirms the self-evident—ISN’s one-sentence disclosure is
      4   insufficient. For example, in Jones v. Colorado Casualty Ins. Co., No. CV-12-
      5   01968-PHX-JAT, 2015 WL 6123125 (D. Ariz. Oct. 19, 2015), the plaintiff
      6   planned to offer the testimony of his treating physician as an expert under Rule
      7   26(a)(2)(C). The plaintiff’s disclosure in Jones was much more thorough than
      8   ISN’s disclosure here. The plaintiff identified in some detail the general subject
      9   matter or issues as to which his physician would testify. Id. at *2 (quoting the
    10    disclosure). But “the disclosure fails to include what his actual opinions are
    11    regarding the issues.” Id. at *3 (emphasis in original). Similarly, “Plaintiff
    12    failed to disclose the factual basis for these opinions.”        Id. (emphasis in
    13    original). Accordingly, the court precluded the physician from testifying as an
    14    expert. Id. at *5. Accord Cooke v. Town of Colorado City, No. CV 10-08105-
    15    PCT-JAT, 2013 WL 551508 at *4-*5 (D. Ariz. Feb. 13, 2013).
    16          Similarly, in Langermann v. Property & Cas. Ins. Co. of Hartford, No.
    17    2:14-CV-00982-RCJ, 2015 WL 4724512 (D. Nev. Aug. 10, 2015), the plaintiff
    18    planned to offer the expert testimony of various treating physicians. Id. at *4.
    19    For each treating physician, the plaintiff disclosed that “said witness will testify
    20    to his/her knowledge regarding the medical treatment provided to [the
    21    decedent] resulting from the subject accident.” Id. As in Jones, the court
    22    concluded that this “disclosure contains no information about the facts and
    23    opinions on which each provider is expected to testify as required by Rule
    24    26(a)(2)(C)(ii).” Id. “The disclosure contains only the most generic, unhelpful
    25    description of the subject matter on which each provider is expected to present
    26    evidence … as required by Rule 26(a)(2)(C)(i).” Id. In short, the disclosure
    27    was “woefully inadequate,” and the court excluded the proffered expert
    28    testimony. Id. at *5. Accord Kraja v. Bellagio, LLC, 2:15-CV-01983-APG-
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      1   NJK, 2016 WL 1611590 at *2 (D. Nev. April 22, 2016) (excluding “boilerplate
      2   disclosures [that] are wholly devoid of a summary facts and opinions as to
      3   which each witness is expected to testify”).
      4         Likewise, in Obesity Research Institute v. Fiber Research Int’l, No. 15-
      5   CV-0595-BAS-MDD, 2015 WL 9008778 (S.D. Cal. Dec. 15, 2015), the
      6   plaintiff provided an expert disclosure far more detailed than that of ISN. See
      7   id. at *1 (quoting disclosure). The court found it “remarkabl[e]” that plaintiff
      8   “contends that its disclosures are sufficient.” Id. at *2. As in the present case,
      9   “there is nothing in the disclosures that even purports to summarize facts and
    10    opinions to which the witnesses are expected to testify as required by Rule
    11    26(a)(2)(C)(ii).” Id. The court then concluded:
    12          [Plaintiff’s] failure to even attempt to follow the requirements of
    13          Rule 26(a)(2)(C) is made more offensive by its continuing
    14          arguments that the disclosures are sufficient.         This stubborn
    15          insistence on a frivolous argument is an example of the worst kind
    16          of gamesmanship, wasting attorney time and effort, causing the
    17          unnecessary expenditure of client funds and unreasonably burdens
    18          the Court.
    19    Id. at *3. Precisely the same is true here.
    20    B.    ISN’s Non-Compliance Is Neither Harmless Nor Substantially
    21          Justified
    22          “When a party fails to make the disclosures required by Rule 26(a), the
    23    party is not allowed to use the witness to supply evidence at trial unless it
    24    establishes that the failure was substantially justified or is harmless.” Goodman
    25    v. Staples The Office Superstore, 644 F.3d 817, 826 (9th Cir. 2011) (citing Fed.
    26    R. Civ. P. 37(c)(1)). This “exclusion sanction is a self-executing, automatic
    27    sanction designed to provide a strong inducement for disclosure.” Obesity
    28    Research, 2015 WL 9008778 at *1. “If a party violated Rule 26(a), it is that
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      1   party’s burden to show that the violation is substantially justified or harmless.”
      2   Jones, 2015 WL 6123125 at *2 (citing Yeti by Molly v. Decker Outdoor Corp.,
      3   259 F.3d 1101, 1107) (9th Cir. 2001)).
      4         ISN’s violation was not substantially justified. In correspondence with
      5   Monster, ISN identified no justification for its failure to disclose. See Zoretic
      6   Decl., Ex. 4. Moreover, after ISN served its inadequate disclosure, Monster
      7   asked ISN to provide a supplemental disclosure, and cautioned that failure to do
      8   so would lead to this very motion in limine. Id., Ex. 5. There can be no
      9   substantial justification for ISN’s refusal to supplement its disclosure after
    10    being warned. See Sanchez v. California, No. 1:12-CV-01835-SAB, 2015 WL
    11    2185186 at *9 (E.D. Cal. May 8, 2015) (failure to comply with Rule
    12    26(a)(2)(C) was not substantially justified because the party did not correct the
    13    deficiencies in the disclosure after receiving notice).
    14          Nor is ISN’s inadequate disclosure harmless. ISN has implied that its
    15    failure was harmless because Monster should be able to glean from Mr. Barry’s
    16    fact deposition all of the information required by Rule 26(a)(2)(C). Zoretic
    17    Decl., Ex. 4.    But the courts have repeatedly rejected this argument.        For
    18    example, as the Court explained in Jones:
    19          [T]he Court cannot conclude that Plaintiff’s failure to properly
    20          follow the requirements of Rule 26(a)(2)(C) was harmless because
    21          Plaintiff believes that [Defendant] could have correctly guessed at
    22          the substance of [the expert’s] testimony from his prior deposition
    23          testimony.
    24    Jones, 2015 WL 6123125 at *4. The court further observed that “[t]he principal
    25    problem with Plaintiff’s argument is that the purpose and intent of Rule
    26    26(a)(2)(C) would be reduced to mere rhetoric if the Court were to hold
    27    harmless Plaintiff’s disclosure.” Id.
    28          Similarly, the court in Ibey v. Trinity Universal Ins. Co., No. CV 12-31-
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      1   M-DWM, 2013 WL 4433796 at *3 (D. Mont. Aug. 16, 2013), explained:
      2         Rule 26(a)(2)(C) doesn’t allow parties to sidestep their obligations
      3         under Rule 26(a)(2)(C) by making broad, generic reference to
      4         previously disclosed discovery documents. Rule 26(a)(2)(C) doesn’t
      5         allow the disclosing party to force other parties to play the “Guess
      6         the Testimony” game by sending them on a fishing expedition.”
      7   The court continued: “An opposing party should be able (and be entitled) to
      8   read an expert disclosure, determine what, if any, adverse opinions are being
      9   proffered and make an informed decision as to whether it is necessary to take a
    10    deposition and whether a responding expert is needed.” Id.
    11          Finally, it bears emphasis that ISN’s violation here was not a mere
    12    technical violation.   ISN has completely failed to disclose any meaningful
    13    information about Mr. Barry’s proposed expert testimony. Monster has no idea
    14    what he will say at trial as an expert; Monster has had no opportunity to prepare
    15    to cross-examine Mr. Barry as an expert; and Monster has had no opportunity to
    16    retain a rebuttal expert. Accordingly, Mr. Barry should be precluded from
    17    testifying as an expert.
    18                                 III. CONCLUSION
    19          ISN failed to disclose the subject matter of Don Barry’s proposed expert
    20    testimony, the opinions he will offer, or the factual bases for those opinions, as
    21    required by Fed. R. Civ. P. 26(a)(2)(C). This abject failure was not substantially
    22    justified and was not harmless. Accordingly, ISN should be precluded from
    23    offering testimony from Don Barry as an expert.
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      1                              Respectfully submitted,
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      3
      4   Dated: July 24, 2018       By: /s/ Lynda J. Zadra-Symes
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